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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF LOUISIANA




UNITED STATES OF AMERICA                                 CRIMINAL    ACTION


v.                                                       NO. 20-55



JASON WILLIAMS AND NICOLE BURDETT                        SECTION “F”



                            ORDER AND REASONS

      Before the Court is Jason Williams’s and Nicole Burdett’s

motion to dismiss the indictment for selective and vindictive

prosecution and due process violations, and their request for an

evidentiary hearing. For the reasons that follow, the request for

an evidentiary hearing is GRANTED, and the motion to dismiss the

indictment is DENIED without prejudice.

                                Background

      New Orleans City Council President and candidate for Orleans

Parish District Attorney, Jason Williams is an African American

public official and criminal defense attorney who runs his own law

firm.    Nicole Burdett, who is white, is Williams’s law partner;

she also handles administrative duties for Jason Rogers Williams

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& Associates.      After a several years-long (and apparently ongoing

and wide-ranging) non-tax-related federal criminal investigation

into Mr. Williams, both he and Ms. Burdett were indicted on tax

fraud charges. Independent of the defenses the defendants indicate

they will advance to refute the substantive charges, Williams and

Burdett   claim    that    the   decision    to   prosecute   them       is   unduly

selective and vindictive in violation of their constitutional

rights to equal protection and due process. These are not defenses

to the merits of the charges, but, rather, independent assertions

that   the   federal      tax    fraud   charges     are   being   pursued      for

unconstitutional reasons.

                  Pre-Indictment/Federal Investigations


       Jason R. Williams is an attorney and public official who

presently serves as a Councilmember-At-Large for New Orleans City

Council, the legislative branch of New Orleans City government.

Councilman   Williams      recently      qualified    to   run,    and    formally

entered the race, for the office of District Attorney for Orleans

Parish; the election is November 3, 2020.                  Councilman Williams

heads his law firm, Jason Rogers Williams & Associates LLC, which

focuses on criminal defense.             Nicole E. Burdett is one of Mr.

Williams’s law partners.         She also performs certain administrative

functions for the firm.

                                         2
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     Distinct     federal   investigations    and   their    chronology    are

pertinent to the issues before the Court.              Councilman Williams

publicly declared his intent to run for District Attorney in

approximately 2017-2018. 1       Since 2016, Mr. Williams has been --

and still is -- the target of what the prosecutors confirm is an

“open and ongoing” federal investigation by the FBI into wide-

ranging   and    undisclosed    non-tax   matters. 2    At    least   at   its

inception,      the   ongoing   FBI   investigation     was    overseen    by

prosecutors at the U.S. Attorney’s Office for the Eastern District

of Louisiana.     At some point before July 24, 2018, prosecutors at

the Western District of Louisiana became involved in the FBI

investigation.


     The IRS did not target Mr. Williams for criminal investigation

until it attempted to interview him as a witness-client of another




1 Grand jury subpoenas to Mr. Williams bear a grand jury number of
2017R00460-97, indicating to counsel for Mr. Williams that the
government has been using the grand jury to investigate Williams
since 2017.
2 The first bank subpoenas were issued between November 2016 and

July 2017 at the request of prosecutors from the Eastern District
of Louisiana and agents from the New Orleans Division of the FBI.
The numbering system indicates that the Eastern District issued at
least 20 and as many as 41 total subpoenas during this time period.
In addition to bank records, the subpoenas sought records from:
one of Mr. Williams’s college acquaintances, a man whom had
received contracts from the City of New Orleans (with no
involvement from Mr. Williams); and a business that performed
repairs on Mr. Williams’s house.
                                 3
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IRS target, Henry Timothy.          The IRS investigation of Henry Timothy

began as a result of an IRS criminal investigation of one of

Timothy’s other clients, C.D., who owned a home health company.

IRS    Special      Agent   Lori   Marable   investigated    C.D.    (and   then

Timothy).     As for C.D., whom the government represents is “a black

female,”      the     IRS    declined    prosecution     after      SA   Marable

corroborated that the company paid its employment taxes, the

company’s gross income was correctly accounted for and accurately

reported on its tax returns, and the amount of personal expenses

in the business account was de minimis and did not meet prosecution

guidelines.


       So, although SA Marable declined to prosecute C.D., she

decided to pursue charges against Timothy when she established

that Timothy failed to declare all of his income from his tax

preparation      business    for   tax   years   2013   through   2016. 3    The

government first approached Timothy as a target on May 15, 2018.

While investigating Timothy, SA Marable contacted several of his

clients to verify their identities and to verify that Timothy was

their tax preparer.         Jason Williams was one of Timothy’s clients




3According to prosecutors for the Western District, “Henry Timothy
is being charged for this conduct” and “the admission of this
income resulted in an additional tax liability of approximately
$88,593.”
                                4
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whom SA Marable contacted in October 2018.        She initially stopped

by unannounced at his house; he asked her to contact his assistant

and make an appointment, which she did.         SA Marable went to Mr.

Williams’s office at the scheduled time on October 22, 2018.              Mr.

Williams not only kept her waiting, the government suggests, he

failed to show up. 4    SA Marable left after waiting for two hours.

Mr. Williams tried to contact SA Marable to reschedule, but,

strangely, he has not heard from her since.       Instead, SA Marable’s

supervisor brought in another criminal tax investigator who set

his investigatory sights on Mr. Williams as a target.


     As the prosecutors tell it, “[b]ecause Williams failed to

meet with SA Marable and due to the fact that he was a public

official, SA Marable’s supervisor required that IRS Special Agent

Tim Moore get involved.”      SA Moore is also assigned to the FBI’s

public corruption squad and was aware that the FBI had an open

investigation underway into Mr. Williams.




4 Mr. Williams says he was at a City Council meeting. There was
some dispute at the oral hearing concerning whether SA Marable was
advised of this particular fact: the AUSA suggested that she was
not sure whether SA Marable knew that Mr. Williams was a councilman
before he was allegedly a no-show.        These sorts of hearsay
speculations indicate that perhaps an evidentiary hearing would
allow the record to be clear and correct on these sorts of factual
issues capable of discernment.
                                 5
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     In   December    2018,    the   prosecutors   disclose,    SA   Moore

conducted a preliminary tax investigation on Mr. Williams.                He

determined that a more extensive investigation was needed “due to

the fact that he saw glaring irregularities on Williams’ returns”

and when he “learned of Williams’ long history of tax liens for

not paying his taxes.” 5      According to the prosecutors, one of the

issues that SA Moore initially noticed was that, from 2013 through

2017, Williams’s tax returns indicated that he made very little

profit from his law firm and in 2017, his law firm reported a loss

of $29,927.    SA Moore also noticed that Mr. Williams’s Schedule C

(Profit and Loss from a Business) section of the return included

expenses SA Moore deemed “excessive,” and that Mr. Williams took

deductions exceeding $100,000 for costs of goods sold; a deduction

category typically reserved for businesses that manufacture goods

or provide retail services.


     According to discovery produced by the government, an IRS

agent first appears on a subpoena in May 2019, shortly after Mr.

Williams was visited by FBI and IRS agents on April 23, 2019.         That

same day, on April 23, 2019, FBI Agent Todd Goodson and IRS Agent

Timothy Moore interviewed Henry Timothy about Jason Williams.



5 Of course, here the Court uses quotations to indicate what the
government attorneys argue in their opposition papers. The Court
does not have SA Moore’s own testimony on these background issues.
                                 6
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According to the FBI 302 6 for the April 23 interview, Timothy told

the agents that he used spreadsheets and backup documents provided

by Nicole Burdett to prepare Jason Williams’s taxes.              Timothy

stated that he would provide a filing authorization to Ms. Burdett,

she would return the authorization signed by Mr. Williams, and

then he (Timothy) would file the returns.        Nowhere in the FBI 302

does it indicate that Timothy said that Ms. Burdett would pressure

him to take improper deductions.           When the agents questioned

Timothy about specific items on Mr. Williams’s 2012-2107 tax

returns, at no time did Timothy say that Ms. Burdett instructed

him to take any of these deductions.


     Three days after Timothy was interviewed by federal agents,

Mr. Williams’s attorney met with Timothy. 7 Timothy made statements



6 “The term ‘302’ refers to an FBI form bearing that number, which
serves as an ‘official interview memorandum.’” United States v.
Beaulieu, --- F.3d ---, 2020 WL 5103863, at *2 n.1 (5th Cir. Aug.
31, 2020)(quoting United States v. Davis, 971 F.3d 524, 533 (5th
Cir. 2020)).
7 The government takes issue with consideration of unrecorded

statements by Timothy to defense counsel, suggesting or
anticipating that such statements may not be used at trial unless
defense counsel withdraws from the representation and prepares to
be called as a witness. There is nothing before the Court on this
particular issue.   In any event, the Court need not (and would
not) advise defense counsel on their obligations or any limitations
concerning the informal Timothy interview.     And the government,
which has expressly stated that “Henry Timothy is being charged
for [his own] conduct” is clearly well aware that Timothy’s
credibility as the star government witness will be challenged at
trial, and the source of this challenge appears to extend beyond
                                 7
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similar to those made to the agents on April 23, 2019: he stated

that Ms. Burdett would bring him Mr. Williams’s QuickBooks and

other records, that he would prepare the tax returns and send a

filing authorization to Ms. Burdett, and then he would file Mr.

Williams’s tax returns upon receipt of the authorization.                Mr.

Timothy stated that he (Timothy) made the decisions about what

deductions should be taken, that he would ask Ms. Burdett for

clarification    if   necessary,    and    that   he   did    everything

appropriately. Timothy stated that there was nothing unusual about

Mr. Williams’s taxes and the last thing he wanted to do was to get

Mr. Williams in trouble.


     During a second interview with federal agents along with the

U.S. Attorney on November 5, 2019, Timothy initially repeated

similar statements he made to the FBI in April 2019 -- that he

reviewed Mr. Williams’s records and determined what expenses could

be deducted:


     BURDETT was an attorney but was also the office
     administrator for WILLIAMS. BURDETT communicated with


statements Timothy apparently made to defense counsel pre-
indictment.   It is the government’s conduct that the defense
targets now and certainly any inconsistencies in Timothy’s
statements, insofar as they serve as a predicate to the
government’s prosecution theory, are presented by the defendants
in an attempt to make out a prima facie case of selective or
vindictive prosecution.      The Court considers both sides’
submissions on this limited issue.
                                8
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     TIMOTHY by telephone and brought the QuickBooks details
     to TIMOTHY. The QuickBooks details were paper copies
     that included profit and loss statements, balance
     sheets, general ledger, and financials. If TIMOTHY had
     any questions, TIMOTHY called BURDETT and BURDETT would
     relay the questions to WILLIAMS. TIMOTHY also prepared
     BURDETT’s personal taxes for tax years 2013 through
     2017.

     BURDETT retrieved the tax preparations from TIMOTHY
     including the tax forms 8879. BURDETT provided the items
     to WILLIAMS who then signed the tax forms 8879. BURDETT
     then returned the signed forms to TIMOTHY and TIMOTHY
     electronically filed the tax returns.    TIMOTHY stated
     that there were no questions about the completed
     returns.

See Defense Ex. E, p. 2. 8     During this 11/5/19 interview, Timothy

took a break and, for some unexplained reason, met with his

attorney in a private room.       Once the interview resumes, Timothy

changes his story.


     When the interview resumes, the FBI 302 indicates:


     TIMOTHY stated that BURDETT asked TIMOTHY to lower the
     amounts owed on the tax returns.

     ...

     TIMOTHY felt he had a personal relationship with BURDETT
     and he needed to make WILLIAMS and BURDETT happy.

     ...

     TIMOTHY did things he should not have done.



8 Exhibit E is the FBI 302 from the government’s 11/5/19 interview
of Timothy; the form indicates that it was drafted on 11/6/19 and
“entered” on 11/18/19.
                                 9
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      According to the defendants, the statements made by Timothy

after meeting privately with his attorney during the 11/5/19

interview serve as the predicate for the prosecution theory.                   That

the   prosecution    accepted      Timothy’s     changed       story     “without

verification” and contrary to the evidence indicates an improper

prosecutorial motive.           The defendants point to evidence that

contradicts    Timothy’s    changed    story    (thereby       undermining     the

prosecution’s theory).      For example, post-indictment, in response

to requests for production and admission sent to Timothy by defense

counsel, Timothy through his counsel:


      admitted that at the time Defendant Timothy prepared
      each tax return for filing by Jason Rogers Williams,
      [Timothy] believed that the deductions...Timothy claimed
      on the return were appropriate and consistent with law.

And, the government knew that Timothy prepared Mr. Williams’s tax

returns with Inuit Pro Series tax software, but it failed to ask

Timothy   to   produce    electronic    records.        In    response    to   the

defendants’    request    for    production,   the     defendants      discovered

evidence indicating that there were no draft tax returns for Mr.

Williams, there were no alterations to the deductions on Mr.

Williams’s return, and that Timothy simply prepared a final return

shortly   before    the    deadline    each    year.         According   to    the

defendants, not a single document corroborates Timothy’s claim

that Ms. Burdett asked him to lower the amounts owed on Mr.

                                       10
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Williams’s taxes.       And the defendants submit that Ms. Burdett’s

records (which the government did not request) are consistent with

Timothy’s original statement that he prepared the returns on his

own.   The Timothy-Burdett communications indicate that Ms. Burdett

had to badger Timothy simply to get the returns sent to her at the

last minute; there are no documents supporting the theory that

Timothy prepared draft returns and then Burdett told him to lower

the amounts owed on those drafts.            There are no draft returns.

That Timothy made the tax decisions for Mr. Williams’s returns

(consistent with Timothy’s original statement to federal agents)

is also corroborated, the defendants submit, by documents with

Timothy’s handwriting on the P&L statement copies. 9


       More   closely   scrutinizing   the    government’s   conduct,   the

defendants submit that the government during its investigation



9 The defendants also point to other examples which they suggest
show that Timothy’s original statements are supported by the
documentary evidence. For example, although Timothy most recently
indicated to federal agents that he did things he should not have
done, the deductions plainly list such things as “political”
contributions, which Timothy only recently suggests he knew was
improper. Why, the defendants ask, if Timothy actually believed
that including “political” contributions was something he should
not have done, did Timothy disclose the expense for political
contributions and not characterize it as something else? And the
defendants point out that the government failed to investigate:
Timothy’s misrepresentation to his clients (that he was a CPA) and
his false claim that he earned a Master of Business Administration;
both investigated by the defendants and shown to be absolutely
false.
                                 11
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ignored the testimony of Timothy’s other tax clients who stated

that Timothy took deductions on his own without that client’s

participation or knowledge.           On June 5, 2020, the government

interviewed J.B., a former employee of Mr. Williams who also was

a tax client of Timothy.        When the government pointed out that

Timothy   deducted    $22,000   for   supplies,   $4,000   for   meals   and

entertainment, $1,700 for utilities, in addition to deductions for

uniforms and membership fees” on J.B.’s tax return, J.B. stated

“that’s insane” and that he had not previously noticed those

deductions.   The government did not challenge J.B.’s assertion or

its implication (that Timothy took the deductions on his own,

without   J.B.’s     participation     or   knowledge),    stopped   asking

questions of J.B., and apparently also ceased interviewing other

Timothy clients altogether.


     Three weeks after the government interviewed J.B., and three

weeks before Jason Williams formally announced his candidacy for

District Attorney, Jason Williams and Nicole Burdett were indicted

on federal tax charges.


                         Federal Tax Prosecutions


     The Internal Revenue Service is an agency of the United States

Department    of   the    Treasury    responsible   for    enforcing     and


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administering the federal tax laws and collecting taxes owed to

the United States.      See United States v. Harris, 628 F.2d 875, 879

(5th Cir. 1980)(“The IRS is duty bound to inquire after persons

who may be liable for the payment of taxes.”)(citations omitted).

“The IRS splits the responsibility for enforcing the nation’s tax

laws between its two investigative divisions[,]” one criminal and

one civil.      See United States v. Peters, 153 F.3d 445, 447 (7th

Cir. 1998). The Examination Division is responsible for conducting

civil tax audits 10 through revenue agents, whereas the Criminal

Investigative Division investigates alleged criminal violations of

the tax code and related federal statutes through special agents. 11

       Rather than a civil audit conducted by a revenue agent tasked

with determining if an individual has underpaid his taxes, a

criminal tax fraud investigation is conducted by the Criminal

Division’s special agents, whom must administer warnings before



10 “An IRS audit is a review/examination of an ... individual’s
accounts and financial information to ensure the information is
reported correctly according to the tax laws and to verify the
reported amount of tax is correct.”
https://www.irs.gov/businesses/small-businesses-self-
employed/irs-audits
11 “The Internal Revenue Service Criminal Investigation Division

conducts criminal investigations regarding alleged violations of
the Internal Revenue Code [and related federal] statutes.      The
findings of these investigations are referred to the Department of
Justice for recommended prosecution.”
https://www.irs.gov/compliance/criminal-investigation/how-
criminal-investigations-are-initiated
                                13
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seeking    information            from   taxpayers        they    investigate.                It   is

apparently       not     uncommon        for     either     an    audit       or    tax       fraud

investigation to be prompted by an informant, such as an ex-spouse

calling    the     IRS       to   report        allegedly      improper       tax    reporting

practices by a former spouse.                   See, e.g., United States v. Peters,

153 F.3d 445, 447 (7th Cir. 1998)(former husband of defendant Dr.

Peters called the IRS to report that he had information indicating

that    his   former         wife    had       cheated    on     her    taxes);         see    also

https://www.irs.gov/compliance/criminal-investigation/how-

criminal-investigations-are-initiated                      (“Information           is     .    .    .

routinely     received        from       the    public    as     well    as    from       ongoing

investigations underway by other law enforcement agencies[.]”).

       Unlike most federal criminal prosecutions, the United States

Attorney’s     Office         lacks      the     authority       to    decide      whether         to

prosecute an individual for tax fraud.                      Instead, the Tax Division

of the U.S. Department of Justice is vested with the authority to

refer    alleged       violations          of    IRS     tax   laws     for     prosecution.

According to the government, the Tax Division approved Counts 1

through 6 of the pending indictment on April 27, 2020 and Counts

7 through 11 were approved on June 18, 2020.                             Once all charges

were    approved       for    prosecution,         the    government       indicates,              the

charges were presented to the next available grand jury meeting in

the Eastern District of Louisiana; this occurred on June 26, 2020.
                                14
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According to the Prosecution Guidelines for the Western District

of Louisiana, “[t]ax cases authorized by the Tax Division must be

prosecuted as authorized[; n]o tax case can be declined without

Tax Division approval.”

                                 Indictment


       In the midst of the COVID-19 pandemic, when jury trials and

grand jury proceedings have been suspended, on June 26, 2020 --

just three weeks before qualification deadline for the November 3,

2020 election for Orleans Parish District Attorney -- a specially-

convened federal grand jury 12 returned an 11-count indictment,

charging Jason R. Williams and Nicole E. Burdett with one count of

conspiracy to defraud the United States, in violation of 18 U.S.C.

§ 371 (Count 1); five counts of aiding and assisting in the

preparation and presentation of false and fraudulent tax returns,

in violation of 26 U.S.C. § 7206(2) (Counts 2, 3, 4, 5, and 6); 13


12 Given the Court’s COVID-19 then-governing General Order
suspending grand jury proceedings until August 1, 2020, the
government requested and received special dispensation to convene
the grand jury. See COVID-19 GENERAL ORDER NO. 20-6 (April 24,
2020)(ordering that, “[f]or the reasons given above and below, all
grand jury proceedings in this District are suspended until August
1, 2020, subject to change upon motion from the government and
further orders of the Court.”). The quorum (16 out of 23) of grand
jurors that returned the 11-count indictment was originally
empaneled in August of 2019.
13Each charged § 7206(2) violation concerns an allegedly inflated
Schedule C business expense in the amount of: $200,000 (tax year
                               15
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and five counts of failing to file IRS Forms 8300 relating to cash

received in trade or business, in violation of 31 U.S.C. §§ 5331

and 5322 (Counts 7, 8, 9, 10, and 11). 14


                     Post-Indictment/Pre-Trial


     This case is being prosecuted by the U.S. Attorney’s Office

for the Western District of Louisiana; sometime in 2018, the U.S.

Attorney’s Office for the Eastern District of Louisiana recused

itself.   The 11-count indictment charges Mr. Williams and Ms.

Burdett with conspiracy to defraud the United States, income tax

fraud, and failure to file forms relating to cash received in trade

or business.   Meanwhile, Mr. Williams and Ms. Burdett initially

appeared and have pled not guilty to the charges; a September 14,

2020 jury trial date was initially scheduled consistent with the

mandate of the Speedy Trial Act, but due to the Court’s COVID-19



2013; Count 2); $90,000 (tax year 2014; Count 3); $170,000 (tax
year 2015; Count 4); $140,000 (tax year 2016; Count 5); $120,000
(tax year 2017; Count 6).       The government alleges that the
defendants misclassified personal expenses as business expenses
and provided this false information to the tax preparer for
inclusion on the Schedule C (profit and loss from a business)
portion of Williams’ tax returns; and that these allegedly
fraudulent tax returns reduced Williams’ tax liability in excess
of $200,000.
14 Each charged §§ 5331 and 5322 violation concerns an occasion in

which Williams and Burdett allegedly failed to report cash payments
in excess of $10,000 from clients for legal services; five
occasions between June 2017 and August 2018, for a total of
$66,516.
                                16
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General Order suspending trials, the trial has been rescheduled

for January 11, 2021.        A few months after Mr. Williams and Ms.

Burdett were indicted, the government filed a four-count bill of

information charging Timothy with making and subscribing a false

return, statement, or other document, in violation of 26 U.S.C. §

7206(1).


       The Court has granted several unopposed Rule 17(c) motions by

Mr. Williams and Ms. Burdett seeking permission to serve subpoenas

on various individuals and entities, including on tax preparer

Timothy and B&B Accounting Services, LLC.         And the defendants have

received and reviewed discovery from the government.


       Separate and apart from defenses they will advance to the

substantive     charges,   the   defendants   previously   challenged   the

government’s motivation concerning the timing of the indictment

and they requested discovery from the government and the Clerk of

Court into matters of grand jury composition. 15            On August 10,

2020, the Court granted the motion requesting discovery and denied

without prejudice the other relief requested.



15They vigorously asserted that the investigation was prompted by
a political rival, the charges are politically-motivated,
concocted by Mr. Timothy, and brought at a time (i) to maximize
interference with the upcoming DA election; (ii) when there could
not possibly be a fair cross-section of grand jurors to return an
indictment; and (iii) when obtaining a speedy trial is impossible.
                                17
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       The government recently produced an analysis of all tax

returns filed by Timothy (on behalf of his clients) from 2013

through 2016.       This production shows, the defendants submit, that

Timothy consistently took aggressive deductions for all clients:

across     the    board,    Timothy   made     deductions      that   virtually

eliminated his clients’ income.              Spreadsheets compiled by the

government or by defense counsel based on the government’s document

production       indicate   the   following.     From   2013    through   2016,

Timothy’s clients reported a total of $71,982,007 in Schedule C

income.     A total of $62,146,980 was deducted from those returns

(with Timothy at the helm as tax preparer), leaving taxable income

of $9,835,027.         The defendants’ appreciation of the evidence

regarding Timothy’s other clients is that Timothy took the same or

more deductions for other clients, and the government is not

prosecuting any of them. 16           It is impossible, the defendants

conclude, to consider this information and not determine that

Timothy’s changed story is fabricated, and (it follows) that Ms.

Burdett did not pressure Timothy to take deductions for Williams.


16 Ms. Burdett is the exception.  In addition to being indicted
along with Mr. Williams regarding Mr. Williams’s taxes, the
government has confirmed that Ms. Burdett is the target of a
criminal investigation into her own taxes and that she has been
“referred for prosecution[.]” Mr. Williams and Ms. Burdett are
apparently the only Timothy clients being prosecuted or
investigated; the government only investigated (but declined to
prosecute) C.B.
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The only explanation for the government’s deliberate ignorance of

this fact, the defendants suggest, is its years-long pursuit of

Mr. Williams and its selective and vindictive decision to prosecute

him (and Ms. Burdett as collateral damage).


       The defendants now move to dismiss the indictment on the

grounds that the government has violated their constitutional

rights to equal protection and due process by selectively and

vindictively     prosecuting    them;     alternatively,   the   defendants

request an evidentiary hearing for them to further develop their

claims of selective and vindictive prosecution. 17

                                     I.

       “A party may raise by pretrial motion any defense, objection,

or request that the court can determine without a trial on the

merits.” Fed. R. Crim. P. (b)(1). A party “must” raise by pretrial


17 Just hours before the Court heard oral argument on the
defendants’ motion -- as if on cue -- SA Moore dropped by
unannounced to visit (or drop off papers to) various members of
Ms. Burdett’s family, including her daughter. Or so the Court was
advised by counsel during the hearing.        (Again, absent an
evidentiary hearing where those with personal knowledge may
testify, the Court can only glean purported facts on certain
incidents from counsel’s representations).    Suggesting that no
negative intent should be inferred from the timing of the agents’
actions, the government insists that SA Moore doing so was in the
normal course of the prosecution the government is pursuing based
on Ms. Burdett’s personal taxes. Obviously, Ms. Burdett and her
attorney have a different take, given the timing of this hearing
on vindictive prosecution.
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motion “a defect in instituting the prosecution, including ...

(iv) selective or vindictive prosecution[.]”                   Fed. R. Crim. P.

(b)(3)(iv).

       Claims of selective or vindictive prosecution are “not ...

defense[s] on the merits to the criminal charge itself, but ...

independent assertion[s] that the prosecutor has [either] brought

the charge [or used the charging process in retaliation] for

reasons   forbidden       by   the    Constitution.”          United   States    v.

Armstrong,      517    U.S.    456,   463     (1996)(selective     prosecution);

Bordenkircher     v.     Hayes,    434   U.S.    357,   363    (1978)(vindictive

prosecution).         When asked to exercise judicial oversight over a

“special province” of another branch of government, the Court is

mindful of its limitations, deference, and duty to indulge a

presumption “that [prosecutors] have properly discharged their

official duties.”        Armstrong, 517 U.S. at 464 (citations omitted).

To be sure, in limited circumstances, the presumption may be

dispelled.      Whether such rare circumstances are clearly presented

here is placed at issue in the pending motion.                The Court addressed

the vast breadth of prosecutorial discretion in its August 20,

2020    Order    and    Reasons;      these     principles     undergirding     the

presumption of regularity applicable to prosecutorial decisions

are directly implicated here and, thus, bear repeating.


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                                           A.
                               Prosecutorial Discretion


     In    our       federal    criminal   justice     system,      “[t]he     Attorney

General and United States Attorneys retain ‘broad discretion’ to

enforce the Nation’s criminal laws.” United States v. Armstrong,

517 U.S. 456, 464 (1996)(citing Wayte v. United States, 470 U.S.

598, 607 (1985)).         The breadth of this discretion finds its source

in statute and constitutional separation-of-powers doctrine.                        See

id. (“[t]hey have this latitude because they are designated by

statute as the President’s delegates to help him discharge his

constitutional responsibility to “take Care that the Laws be

faithfully       executed.”)(citations          omitted).      To    be    sure,    “the

decision    to       prosecute    is   particularly     ill-suited        to   judicial

review.”    Wayte, 470 U.S. at 607.             A “’presumption of regularity’

[attaches to] prosecutorial decisions and, ‘in the absence of clear

evidence to the contrary, courts presume that they have properly

discharged their official duties.’”                  Armstrong, 517 U.S. at 464

(“A selective-prosecution claim asks a court to exercise judicial

power   over     a    ‘special     province’    of   the    Executive.”).          Thus,

ordinarily, “so long as the prosecutor has probable cause to

believe that the accused committed an offense defined by statute,

the decision whether or not to prosecute and what charge to file


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or bring before a grand jury, generally rests entirely in his

discretion.”     Bordenkircher v. Hayes, 434 U.S. 357, 364 (1978).

For good reason, as the Supreme Court observed in Armstrong:

       Judicial deference to the decisions of these executive
       officers rests in part on an assessment of the relative
       competence of prosecutors and courts. “Such factors as
       the strength of the case, the prosecution’s general
       deterrence   value,    the   Government’s   enforcement
       priorities,   and  the   case’s  relationship   to  the
       Government’s overall enforcement plan are not readily
       susceptible to the kind of analysis the courts are
       competent to undertake.”
       It also stems from a concern not to unnecessarily impair
       the performance of a core executive constitutional
       function. “Examining the basis of a prosecution delays
       the criminal proceeding, threatens to chill law
       enforcement by subjecting the prosecutor’s motives and
       decisionmaking to outside inquiry, and may undermine
       prosecutorial    effectiveness    by    revealing    the
       Government’s enforcement policy.”


Armstrong, 517 U.S. at 465 (citing Wayte, 470 U.S. at 607).

       Though   broad,   prosecutorial   discretion   is   not   completely

“unfettered[; s]electivity in the enforcement of criminal laws is

... subject to constitutional constraints.”           Wayte, 470 U.S. at

608 (citing United States v. Batchelder, 442 U.S. 114, 125 (1979)).

When    presented   with    a   selective   or   vindictive      prosecution

challenge, the Court may review decisions to prosecute in limited

circumstances to ensure that the decision is not the product of

individual or institutional abuse or “deliberately based upon an


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unjustifiable standard such as race, religion, or other arbitrary

classification, including the exercise of protected statutory and

constitutional rights.”          Id. (citing Bordenkircher, 434 U.S. at

364-65)); Armstrong, 517 U.S. at 464-65 (the equal protection

clause of the Fifth Amendment forbids (selective) prosecution

based upon race, religion, or other arbitrary factor); United

States     v.   Goodwin,   457    U.S.     368,   373    (1982)(prosecutorial

vindictiveness is a due process violation for it “punish[es] a

person because he has done what the law plainly allows him to

do[,]” but it is difficult to prove considering that “[m]otives

are complex” and “[t]he imposition of punishment is the very

purpose of virtually all criminal proceedings.”).

                                      B.
                           Selective Prosecution

       A selective prosecution claim puts at issue whether “the

prosecutor has brought the charge for reasons forbidden by” the

equal protection component of the Due Process Clause of the Fifth

Amendment.      Armstrong, 517 U.S. at 463.             The Fifth Amendment’s

equal protection component 18 forbids the prosecution from pursuing



18 Unlike the Fourteenth Amendment, the Fifth Amendment does not
contain an equal protection clause, but it contains an equal
protection component. Wayte v. United States, 470 U.S. 598, 609
n.9. Regardless, the Supreme Court’s equal protection approach is
the same. Id.
                               23
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a particular criminal case based upon an “unjustifiable” factor

such as race, religion, or some other arbitrary classification.

See id. at 464.    Of course, “the mere exercise of some selectivity

by the government in instituting prosecutions is not itself a

constitutional violation.” United States v. Greene, 697 F.2d 1229,

1234 (5th Cir. 1983).

     Armstrong    supplies     the    test    applicable      for     substantive

selective    prosecution     claims    and    corresponding      requests    for

discovery.    And it erects quite a hurdle.          See Armstrong, 517 U.S.

at 463-65 (describing the standard as “demanding” and “rigorous”

and a “significant barrier” and demanding “clear evidence” from

the defendant).    The burden is on the defendant to present clear

evidence;    “making   ...    a   prima      facie    showing    of    selective

prosecution is a difficult task” -- “few parties have succeeded in

shifting the burden of proof to the government.”              Greene, 697 F.2d

at 1235.

     To succeed on a selective prosecution claim, the defendant

must demonstrate, first, that the prosecution had a discriminatory

effect and, second, that it was motivated by a discriminatory

purpose.     Armstrong, 517 U.S. at 463-65.           To make a prima facie

showing of discriminatory effect, “in a race case,” for example,

Armstrong    instructs,    “the   claimant     must    show     that    similarly

                                      24
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situated individuals of different races were not prosecuted.”        Id.

at 465; United States v. Bass, 536 U.S. 862, 863-64 (2002)(“raw

statistics regarding overall charges say nothing about charges

brought against similarly situated individuals”).

     As for the second -- discriminatory purpose -- component, the

defendant must show that the government prosecuted him “because

of, not merely in spite of” the unjustifiable factor or arbitrary

classification such as race or the desire to prevent exercise of

his constitutional rights.     See Wayte v. United States, 470 U.S.

598, 610 (1985)(“[D]iscriminatory purpose ... implies more than

... intent as awareness of consequences. It implies that the

decisionmaker ... selected or reaffirmed a particular course of

action at least in part because of, not merely in spite of, its

adverse effects upon an identifiable group.”)(internal citations,

quotations omitted).    If the defendant satisfies this tall-order

prima facie effects-and-purpose test, “then the burden shifts to

the government to demonstrate a legitimate basis for selecting the

defendant for prosecution.”      United States v. Hoover, 727 F.2d

387, 389 (5th Cir. 1984)(citing Greene, 697 F.2d at 1235)).

     The standard applicable to a request by a defendant seeking

discovery from the government in aid of a selective prosecution

claim is “correspondingly rigorous.”      See Armstrong, 517 U.S. at

                                  25
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463, 465-66, 468 (observing that Rule 16 of the Federal Rules of

Criminal    Procedure      is   inapplicable      to    selective      prosecution

claims,    which   are    distinct    from     defenses    to   the    substantive

charges).      “[A]      credible    showing    of     different    treatment   of

similarly situated persons” must be made by defendants seeking

discovery in aid of a selective prosecution claim.                     Id. at 470

(observing     that      this    threshold      “adequately        balances     the

Government’s interest in vigorous prosecution and the defendant’s

interest in avoiding selective prosecution.”).

     Defendants face an uphill battle: like most defendants, the

Armstrong defendants failed to meet the rigorous standard.                      The

study they submitted fell short of “some evidence tending to show

the existence of elements of” a selective prosecution claim.                    Id.

(emphasis    added)(noting       that   the     study     failed      to   identify

individuals who were not black and who could have been (but were

not) prosecuted for the offenses for which the defendants were

charged); but see United States v. Hoover, 727 F.2d 387, 389 (5th

Cir. 1984)(first part of the substantive selective prosecution

test met where Hoover was one of three air traffic controllers

prosecuted out of over 300 whom failed to report to work in the

Houston area in violation of a federal statute prohibiting U.S.

government employees from participating in a strike against the

government).
                                        26
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                                      C.
                         Vindictive Prosecution

       “To punish a person because he has done what the law plainly

allows him to do is a due process violation ‘of the most basic

sort.’” United States v. Goodwin, 457 U.S. 368, 372 (1982)(quoting

Bordenkircher v. Hayes, 434 U.S. 357, 363 (1978)).          A prosecutor’s

use of the charging process solely as a penalty for exercising a

constitutional or statutory right, such as pursuing an appeal,

violates due process.         United States v. Saltzman, 537 F.3d 353,

359 (5th Cir. 2008)(citation omitted); North Carolina v. Pearce,

395 U.S. 711, 725 (1969)(the Due Process Clause of the Fourteenth

Amendment “requires that vindictiveness against a defendant for

having successfully attacked his first conviction must play no

part    in   the   sentence     he   receives   after   a   new   trial.”).

Prosecutorial vindictiveness must be proved by the defendant by a

preponderance of the evidence.         Saltzman, 537 F.3d at 359.       The

defendant may do so in one of two ways:            (1) present objective

evidence that a prosecutor’s actions were designed to punish him

or her for asserting his or her legal rights, which is proof of

actual vindictiveness; or (2) show sufficient facts to give rise

to a presumption of vindictiveness, which may be overcome by

objective    evidence   justifying     the   prosecutor’s   actions.    Id.

(because a presumption of vindictiveness may apply even absent
                                      27
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proof of improper motive, such a presumption only applies “where

there exists a realistic likelihood of vindictiveness.”).                  Success

on either course is rare, particularly in the pre-trial context.

See Goodwin, 457 U.S. at 381 (“There is good reason to be cautions

before     adopting      an       inflexible    presumption   of    prosecutorial

vindictiveness        in      a     pretrial    setting[:]    the    prosecutor’s

assessment    of    the    proper      extent   of    prosecution   may   not   have

crystallized[; t]hus, a change in the charging decision made after

an initial trial is completed is much more likely to be improperly

motivated than is a pretrial decision.”).

     A presumption of vindictiveness may arise if a defendant is

re-indicted especially if the prosecutor increases the number or

severity     of    the     charges     after    the    defendant    appealed    his

conviction.       For a defendant to make a showing of vindictiveness

is rare indeed.          As for when a defendant might be entitled to

discovery or an evidentiary hearing in aid of such a claim, the

parties     appear to assume that satisfying the Armstrong standard

applicable to selective prosecution would suffice here, given that

both claims (particularly the ones advanced in this case) inquire

into prosecutorial malintent.




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                                          II.

       The     defendants    seek   dismissal       of    the   indictment    or,

alternatively, an evidentiary hearing in aid of their claims of

selective and vindictive prosecution.                 To obtain either, the

defendants must carry a heavy burden, which is why most such claims

rarely       succeed.      See,   e.g.,    Chris    Zimmerman,    Prosecutorial

Discretion, 89 Geo. L.J. 1229, 1233 (2001)(citing Reno v. Am.-Arab

Anti-Discrimination Comm., 525 U.S. 471, 488-89 (1999)).                     Like

most defendants before them, on this record, the Court finds that

Mr. Williams and Ms. Burdett have thus far failed to satisfy the

demanding substantive standard applicable to their request for

dismissal.       However, because they have presented “some credible”

evidence supporting both components of their selective prosecution

or    enforcement       theory,   they    satisfy   the    standard   Armstrong

propounded to obtain discovery.            And because the proffered intent

evidence and the government’s own admissions are probative of

malintent, the defendants are likewise entitled to some limited

development of the facts supporting their vindictive prosecution

claim.




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                                     A.

     First, the Court takes up selective prosecution.            Dismissal

of the indictment on this ground is premature.               However, the

defendants have offered “some evidence” on both the effect and

purpose prongs of the Armstrong test, warranting an evidentiary

hearing limited in scope.

     In selecting Mr. Williams and Ms. Burdett for prosecution,

the defendants submit, the government has deliberately ignored

Timothy’s other clients, notwithstanding substantially similar

alleged conduct: aggressive deductions which are the cornerstone

of the government’s prosecution of Mr. Williams and Ms. Burdett.

From the government’s document production, the defendants identify

evidence pointing out that Timothy took aggressive deductions that

eliminated virtually all of his clients’ income.            This evidence

undermines    the    prosecution’s   theory   predicated    on   Timothy’s

changed story that Ms. Burdett pressured him to take deductions

for Mr. Williams.        The government counters that the defendants

fail to rebut the presumption that they acted in good faith in

pursuing this prosecution because they fail to show either that

there   has   been   a   discriminatory   effect   or   malintent   on   the

government’s part, let alone both.         The government submits that

the defendants have not shown that they were singled out for

                                     30
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prosecution      based    upon     their    race      or   desire    to    exercise      a

constitutional        right,     that     they     have    not    established          that

Timothy’s     other      clients    are     similarly      situated       in    respects

material to prosecution, and that both are being prosecuted for

legitimate reasons; thus, the defendants are entitled to neither

dismissal of the indictment nor an evidentiary hearing.                            As to

dismissal, the Court agrees.               But Mr. Williams and Ms. Burdett

have submitted “some evidence” warranting a limited evidentiary

hearing:    on     the   effects    front,      the   defendants     may       probe   the

similarities between them and other Timothy clients proffered as

comparators; on the intent front, the defendants may probe those

incidences surrounding SA Marable and her supervisor’s decision to

target Mr. Williams for his “failure to meet” Marable for a

voluntary     interview      and    SA     Moore’s     conduct      in    pursuing      an

investigation of Mr. Williams because he is a public official.

     1.    Different Treatment/Effect

     In support of the disparate treatment (effect) prong of

Armstrong, the defendants submit “some evidence” showing different

treatment     of    purportedly         similarly      situated     persons.            The

proffered universe of comparators is Timothy’s other clients.                          The

government disputes whether the universe of Timothy clients have

been shown to be relevantly similarly situated to Williams and

                                           31
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Burdett.      True, Mr. Williams and Ms. Burdett (and perhaps Timothy,

who    has    been    charged   by    bill    of    information)       themselves    are

dissimilar in terms of race, gender, and public official status.

And certain characteristics of the universe of Timothy clients are

absent       from    the   record,    which       hinders    the    Court’s   task   in

determining ther they are sufficient comparators in relevant and

material respects for prosecution. 19               Just like raw statistics are

relatively          unhelpful   in     surmounting          the     burden    to    show

discriminatory effect, so, too, would be aggregate data, depending

on     the     circumstances         and     discernible          characteristics    of

comparators. 20       But the defendants offer a bit more than raw data.

       From the government’s document production, the defendants

proffer an analysis of the tax returns filed by Mr. Timothy on

behalf of his many clients from 2013 through 2016.                       The evidence

shows, the defendants submit, that Timothy treated Mr. Williams

the same why he (Timothy) treated all of his clients.                    Mr. Williams


19 Mr. Williams and Ms. Burdett focus on the tax fraud conduct (26
U.S.C. § 7206(2)) to the exclusion of the additional charges that
they face (31 U.S.C. §§ 5331, 5332).
20 In United States v. Hoover, 727 F.2d 387, 389 (5th Cir. 1984),

the court found the first prong of the selective prosecution test
satisfied because only three from among 300 persons failing to
report to work as air traffic controllers were prosecuted under 18
U.S.C. 1918(3).    All of those who potentially could have been
prosecuted fell into a readily discernible category as those who
were prosecuted: air traffic controllers in the Houston area who
failed to report to work on a particular day.
                                             32
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and the rest of Timothy’s clients are small business owners who

hired      Timothy     to   prepare   their   taxes     and    that   Timothy   took

aggressive Schedule C deductions for all of them. 21                         Yet Mr.

Williams, a black sitting public official and declared candidate

for a different public office, and his law partner Ms. Burdett are

the only Timothy clients being prosecuted.

          The   defendants      proffer     these      aggregate      numbers    for

comparison’s       sake:     from   2013   through     2016,    Timothy’s    clients

reported a total of $71,982,007 in Schedule C income. With Timothy

as tax preparer, the clients deducted a total of $62,146,980 from

these      returns,     leaving     $9,835,027    in   taxable     income.      (The

defendants created and attached a 38-page spreadsheet as Exhibit

O    to    their   motion.)       This   evidence,     the    defendants    contend,

indicates       that   the    government    has   blindly      accepted    Timothy’s

changed story that he only made aggressive deductions for Mr.

Williams because Ms. Burdett pressured him to do so.

          The defendants offer this chart for comparison and in support

of their discriminatory effect theory:




21This fact, it is submitted, undermines Timothy’s changed story
(and the prosecution’s theory) that Timothy took aggressive
deductions for Mr. Williams only because Ms. Burdett pressured him
to do so.
                                33
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      Name          Business      SchC:           SchC:          SchC:

                                  Gross Income    Deductions Profit/Loss

J.BROW.           Construction $985,614           $978,170       $7,444

                  service

H.LA.             Seafood         $867,596        $827,159       $40,437

                  processing

DOU.              Home health     $798,891        $771,211       $27,680

H. CO.            Restaurant & $617,891           $590,430       $27,461

                  lounge

WILLIAMS          Attorney        $578,569        $493,334       $85,225

L.KI.             Auto       body $435,705        $421,470       $14,235

                  and powder

DUP.              Renovations     $371,912        $345,145       $26,767




This chart exemplifies Timothy’s across-the-board deductions for

his    clients.     Yet     the   government   confirms   that   it   has   not

investigated any of them.

       In some detail, the defendants proffer as a similarly situated

Timothy client, C.D., who was investigated for tax irregularities

but not charged.         Because C.D. was investigated, more information




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is known about her. 22     During the four years that Timothy prepared

the taxes for C.D.’s home health company, C.D. paid $35,000 on

$3,537,277     in    income.      The   government   says     that   “SA   Marable

declined prosecution on C.D.” for several reasons including that

SA Marable “determined that the [personal expenses in the business

account]      were    de   minimis      and   did    not      meet   prosecution

guidelines.” 23 Prosecution was declined, the defendants point out,

despite the fact that the IRS found that many of C.D.’s deductions

from the business’s gross earnings were for personal expenses,

that C.D. “regularly withdraws cash, issues a check to herself, or

transfers money from the business account into her personal account

on a bi-weekly basis,” and that the “business account does contain

personal expenses such as [C.D.’s] children’s tuition for school.”

       The only other Timothy client interviewed by the government

was    J.B.     Stating    that    Timothy    was    solely    responsible    for

determining which deductions to take, J.B. admitted after being

shown the deductions during his interview with the government that

$27,700 in improper deductions were included on his tax return.


22 During oral argument, the government indicated that C.D. is a
black woman.   There has been no mention of whether she (or any
other comparator) held public office when she was investigated for
tax fraud.
23  The government’s characterization that SA Marable herself
“declined prosecution” appears to belie any prosecution-versus-
enforcement dichotomy in the selective or vindictive prosecution
realm, absent additional briefing on the matter.
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The government did not challenge J.B.’s assertion that Timothy

took     the   deductions    (for    supplies,    meals,    entertainment,

utilities,       uniforms,   and    membership    fees)    without   J.B.’s

participation or advance express consent.            J.B.’s situation is

like the defendants’ yet, the defendants submit, the government

persists with its prosecution theory directed only at Mr. Williams

and Ms. Burdett and supported only by Timothy’s changed story (that

Ms. Burdett pressured him to take deductions).

       For its part, the government observes that tax cases are time

and resource consuming to develop and that SA Moore has been the

case agent on tax prosecutions involving white public officials or

attorneys prosecuted for tax violations in Orleans, Jefferson, and

St. Tammany Parish areas from 2005 through 2019, including Chris

Roberts (Councilman – Jefferson Parish); Craig Tafaro (Deputy

Chief – Jefferson Parish Sheriff’s Office); Walter Reed (District

Attorney – St. Tammany Parish); Greg Meffert (Chief Technology

Officer – City of New Orleans); Eddie Price (Mayor – Mandeville);

Joe Impasato (Councilman – St. Tammany Parish); James Perdigo

(Attorney). 24      Particularly    given   the   government’s   wholesale

dismissal of Timothy clients as comparators, this information


24It is unclear if this roster of convicted (with the exception
of Chris Roberts, who committed suicide before trial) public
officials the government submits are proffered as similarly
situated comparators for the effect analysis.
                                36
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appears anecdotal and of little help in advancing analysis of

Armstrong’s effect component.

       To be sure, the spreadsheet and analysis identified by the

defendants supports the defendants’ selective prosecution theory

in its aggregate suggestion that all of Timothy’s clients took

aggressive deductions (with Timothy, the tax preparer, as the

common denominator); yet, only Jason Williams, Nicole Burdett, and

Timothy      himself    are   or     “will       be”    prosecuted.      Given    the

circumstances and prosecution theory, considering Exhibit O and

the pool of Timothy clients whom are not being investigated nor

prosecuted, the Court finds that the defendants have submitted

“some evidence” supporting Armstrong’s effect component sufficient

to   warrant    development        during    a    limited   evidentiary    hearing.

Perhaps the record can also be clarified as to whether any of the

Timothy client comparators are black sitting public officials and

declared candidates for public office.

       2.    Discriminatory Purpose

       Turning to discriminatory purpose: have the defendants shown

that the government prosecuted them “because of, not merely in

spite of” the unjustifiable factor or arbitrary classification

such    as    race     or   the     desire       to    prevent   the   exercise   of

constitutional rights?            See Wayte v. United States, 470 U.S. 598,

                                            37
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610 (1985). On this record, the defendants have not made this

showing sufficient to warrant dismissal. 25           But they have offered

some evidence, which persuades the Court on this developing record

that    it   may    not   simply   accept    the   government’s    purportedly

legitimate        reasons    and   characterizations      of      the   agents’

motivations or knowledge to the exclusion of “some evidence”

offered      by    the    defendants   and    including   the     government’s

admissions regarding the agents’ intent. The shifting explanations

from the prosecution coupled with the circumstantial evidence

submitted by the defendants is sufficient to permit the defendants



25Of course, the defendants’ selective prosecution theory must be
viewed through the lens of tax prosecutions generally:
       [K]nown tax reporting violations are not ignored and
       are, in fact, prosecuted to such an extent as
       prosecutorial resources allow.... The decision whether
       to proceed by civil or criminal means is made on the
       basis of several factors: the flagrancy of the
       violation, the amount involved, the special status of
       the taxpayer such as CPA or attorney, the availability
       of limited investigative personnel, and other factors
       unique to a given case.
United States v. Johnson, 577 F.2d 1304, 1308-09 (5th Cir.
1978)(noting that “tax protestors are vigorously prosecuted for
violation of the tax laws [which] demonstrates nothing more than
a legitimate interest in punishing flagrant violators and
deterring violations by others.”); United States v. Tibbetts, 646
F.2d 193, 195-96 (5th Cir. 1981)(“Due to limited resources of the
government, there will always be some tax evaders and tax
protestors who elude prosecution by the government. This factor is
not sufficient to show selective prosecution. The evidence is clear
that the government did not prosecute Tibbets while ignoring others
similarly situated.”).
                                 38
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to probe the prosecution’s intent during an evidentiary hearing,

limited in scope.

       The   WDLA    prosecuting    attorneys    candidly      write    in     their

opposition papers: “Because Williams failed to meet with SA Marable

and due to the fact that he was a public official, SA Marable’s

supervisor     requested    that    IRS     Special   Agent    Tim     Moore    get

involved.”      Given the government’s admission, the investigation

chronology, and other circumstantial evidence submitted by the

defendants, 26 during a limited evidentiary hearing, the defendants

may probe government purpose, in particular: the circumstances

surrounding     SA   Marable’s     knowledge    and   motive    concerning       her

initial attempts to meet with Mr. Williams as a witness and, having

failed, the knowledge and purpose on the part of SA Marable and

her supervisor in getting SA Moore involved, along with SA Moore’s


26For example, Mr. Williams argues that the government accepted a
changed story by Timothy that is demonstrably false and
contradicted by all objective evidence. That the government has
accepted the changed and false aspects of Timothy’s story to
support the prosecution theory and to indict Mr. Williams without
even looking at Timothy’s other clients in an attempt to
corroborate it (i.e., to determine whether each of the clients for
whom aggressive deductions were taken pressured Timothy to do so),
the defendants argue, invites further inquiry. Of some interest,
as the government mentions, Timothy himself has been charged by
bill of information with four counts of making and subscribing a
false income tax return for including false information on his
Schedule C form. There is nothing in the charges to suggest that
anyone pressured Timothy to falsify his own taxes.

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knowledge     and     motive   in    pursuing   witness-turned-target     Mr.

Williams because “he was a public official.”

       To be sure, a prosecution cannot be motivated by a suspect’s

exercise     of     constitutional    rights    through   participation     in

political activity.       United States v. Hastings, 126 F.3d 310, 313

(4th Cir. 1997)(citations omitted).             On the current record, the

defendants have offered “some evidence” of improper motive worthy

of an evidentiary hearing.             Although the defendants have not

dispelled the presumption of regularity, nor may the Court simply

assume     that     the   government’s    prosecutorial    motivation     was

legitimate and proceeded in the ordinary course.              In fact, the

defendants point to admissions by the government that it opened up

a criminal tax investigation into Mr. Williams because he failed

to meet with SA Marable and because he is a public official; both

issues to develop during an evidentiary hearing: the circumstances

surrounding SA Marable’s decision along with her supervisor to

target Mr. Williams for investigation into his taxes and the

circumstances surrounding SA Moore’s decision to pursue a tax

prosecution against Mr. Williams. 27



27 The government insists that the decision to prosecute Mr.
Williams’s is anchored to his long history of tax issues with the
civil   division.  And   that   SA   Moore’s  “preliminary”   tax
investigation -- in which he reviewed Mr. Williams’s returns and
other documents -- showed “glaring irregularities” on the face of
                                40
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                                    B.

      At this stage of the proceedings, the defendants’ vindictive

prosecution claim as a ground for dismissal fails as a matter of

law. The defendants have not satisfied their preponderance burden.

They have not presented sufficient objective evidence establishing

a   realistic    likelihood   of   vindictiveness.       Nor   have    they

established actual vindictiveness.         Nevertheless, the defendants

will have an opportunity to probe prosecutorial malintent during

a limited evidentiary hearing for overlapping reasons articulated

in addressing Armstrong’s intent component.

      Mr.   Williams’s    vindictive     prosecution   claim   is     framed

similarly to his selective prosecution theory: he submits that he

is being punished with a criminal tax indictment because, as the

government explicitly stated, he “failed to meet” with SA Marable

and because, as SA Moore knew, he “was a public official.”              Mr.

Williams contends that he had a constitutional right to refuse to

speak to SA Marable.       See Kentucky v. King, 563 U.S. 452, 469




the documents. For the purposes of the intent inquiry placed at
issue by the defendants’ motion, there is nothing in the record to
suggest that what SA Moore observed during a cursory review of Mr.
Williams’s tax returns at any point previously incited the civil
tax division to turn over for criminal investigation these
“glaring” issues notwithstanding the long history of tax issues
purportedly well known to the civil division.

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(2011).      And, he was targeted by law enforcement investigators

because he was a public official and, when he was indicted, the

government     knew    he       was   a   declared     candidate   for    District

Attorney. 28     For   the      reasons    indicated    respecting   the    intent

component of the selective prosecution theory, these incidents

could be the subject of greater inquiry.

       By indicting her in this case and taking steps to indict her

for Timothy’s preparation of her own personal tax returns, Nicole

Burdett submits, the government is retaliating against her for

pleading not guilty, failing to cooperate in the way the government

wanted (submitting to a proffers session), and filing pretrial

motions.     Challenging the government’s motivation and suggesting

that its prosecutorial tactics have crossed the line, Ms. Burdett

points out that the government produced in discovery numerous

Burdett family photographs, which defense counsel suggests are

irrelevant     to   any     criminal      charges.      Ms.   Burdett’s    counsel

indicated during oral argument and then again in a sur-reply that

SA   Moore   visited      the    homes    of   Ms.   Burdett’s   family   members,

including her daughter and her brother, just a few hours before

the oral hearing on her motion to dismiss the indictment.                 A couple



28This, Mr. Williams argues, implicates an activity protected by
the First Amendment and also violates the Department of Justice
policy on political sensitivities during an election year.
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days after the hearing, the government sought to serve a grand

jury subpoena for the personal appearance of Ms. Burdett’s mother,

who is in poor health.

       The   government   concedes   that   it   is   actively   seeking    to

prosecute Nicole Burdett for tax fraud related to her own personal

taxes. 29    The government waved away any impropriety in the timing

of the agents’ visits to Ms. Burdett’s family, suggesting that

they were merely serving papers they should have served weeks ago.

The government goes on to suggest in its post-hearing supplemental

paper that “[t]he October 2 hearing did not involve any witness

testimony 30 and it was not the intention of the Government to cause


29 Ms. Burdett submits that “[i]t is plainly unconstitutional for
the government to retaliate against Ms. Burdett by seeking
additional charges against her based on evidence known to the
government at the time of the first indictment, and to attempt to
forum-shop within this district by seeking a ‘separate’ indictment
rather than superseding the indictment before this Court, for Ms.
Burdett’s exercise of her constitutional rights to file motions
challenging the validity of the prosecution against her.”       The
government counters that it advised Ms. Burdett through her counsel
almost a year ago that it was pursuing a second matter against her
when the government initiated discussions in an attempt to get her
to cooperate and minimize her criminal exposure, that she
nevertheless opted not to meet with the government, “which resulted
in the Government following through on its obligation to prosecute
offenses where there is probable cause to do so.”      If a second
indictment is returned, the government contends, it “has no say
regarding which judge will be assigned to that case” and if instead
the government “were to supersede the instant indictment, it would
certainly be subject to a motion to sever and the Government would
likely be accused of ‘piling on.’”
30 That there was no witness testimony at the hearing was evident

and, at times, a hindrance to resolving the issues presented.
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any additional stress on anyone, as the agents were simply doing

their jobs.”      The government’s conduct, Ms. Burdett contends, is

vindictive because the government is prohibited from retaliating

against her by threatening or bringing additional charges out of

a desire to prevent the defendant’s exercise of her constitutional

rights.     See United States v. Hoover, 727 F.2d 397, 389 (5th Cir.

1984).

       The Court must consider this “threat” or possibility of

additional charges in the context of the entire proceedings as

part   of   the   vindictiveness       inquiry.        As    the   Fifth   Circuit

reiterated:

       There is no presumption of vindictiveness if in the
       context of the entire proceedings “any objective event
       or combination of events in those proceedings should
       indicate to a reasonable minded defendant that the
       prosecutor’s decision ... was motivated by some purpose
       other than a vindictive desire to deter or punish[.]”


Saltzman, 537 F.3d at 360 (citation omitted).                      Examining the

prosecutor’s      actions   in   the   context    of   the    entire   (or   here,

nascent) proceedings compels a conclusion that no presumption of



Whether there should be testimony to develop the facts on these
issues is squarely at issue. Instead of resorting to reliance on
counsel’s characterizations of potential witnesses’ testimony
concerning matters of government intent or purpose, the
government’s conduct might be worthy of an evidentiary hearing.

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vindictiveness applies on this record at this stage of these

pretrial proceedings.      That is, a reasonable person could view the

prosecutor’s conduct as “motivated by some other purpose other

than a vindictive desire to deter or punish” Ms. Burdett’s exercise

of her asserted rights to plead not-guilty, decline a proffer

session,    and   file   pretrial    motions     seeking      dismissal   of    the

indictment.       To be sure:

       [b]ecause the prosecution has a constitutionally
       legitimate interest in persuading the defendant not to
       exercise [her] right to plead not guilty, the
       presumption of vindictiveness [i]s not warranted where
       the prosecution had done no more than “openly present []
       the defendant with the unpleasant alternatives of
       forgoing trial or facing charges on which [s]he was
       plainly subject to prosecution.


Saltzman, 537 F.3d at 360 (citing Bordenkircher, 434 U.S. at 365);

see also United States v. Paguio, 114 F.3d 928, 930 (9th Cir.

1997)(“It is a nasty business to indict two people, in order to

use the pressure to make one of them talk [even] about an entirely

different     matter.     But   it   is    not   what   the    precedents      call

‘vindictive prosecution.’”).

       The burden on defendants to obtain dismissal of charges due

to     vindictiveness,      pretrial,       is     nearly       insurmountable.

Nevertheless, the defendants have a right to fair treatment and

here have offered some evidence that invites a reason to doubt

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that     the      government       is   acting       properly       in    seeking     the(se)

indictment(s); additional inquiry into prosecutorial motivation or

vindictiveness is warranted simultaneously with the inquiry into

discriminatory intent for the selective prosecution claim.                                  In

other words, the defendants may probe during an evidentiary hearing

whether the prosecution is unduly selective or in retaliation for

the exercise of their statutory or constitutional rights.

       The Court does not conclude that prosecutorial animus or

vindictiveness           exists,     only     that    the   circumstantial           evidence

offered,       the   timing     of      the   indictment,       the      timing      of   other

government conduct in relation to the defendants’ motions, and the

government’s own admissions concerning the investigating agents’

motivations counsel against prematurely stifling the development

of     the     defendants’         claims     that     their     prosecution          crosses

Constitutional           boundaries.            Contrary       to        the   government’s

suggestion in its supplemental paper that the pending motion is an

abusive discovery tactic in which the defendants “only” seek to

examine Timothy, the defendants have expressly stated that they

intend       to   call    the   investigating          agents       during     any    limited

evidentiary hearing. 31            Finally, more than once in its papers, the


31In addition to calling SA Marable, SA Marable’s supervisor, and
SA Moore, the defendants suggest that they would also like to call
Timothy.   The Court is not persuaded that Timothy’s testimony
during a pretrial hearing could “prove” that the government
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government invokes United States v. Young, 231 F. Supp. 3d 33 (M.D.

La. 2017) in which Judge deGravelles issued a lengthy opinion

denying   a    defendant’s    motion     to   dismiss    for   selective     and

vindictive prosecution.       What the government fails to mention is

that Judge deGravelles did so following two evidentiary hearings

and multiple rounds of briefing.          Like Young, the defendants have

demonstrated    entitlement    to   a    limited     evidentiary   hearing    to

develop   a     factual   record        concerning     incidents    with     the

investigatory agents that bear on prosecutorial motive. 32




deliberately ignored objective evidence in support of their
selective and vindictive prosecution theories.      Insofar as the
prosecution rests its theory of the case on Timothy’s narrative,
this is an issue directed to the substantive criminal charges; and
Timothy’s ostensibly shifting stories will be fodder for cross-
examination at any trial.     Additionally respecting Timothy, the
defendants indicate that the government “refuses to turn over the
transcript of Henry Timothy’s grand jury testimony to allow the
defense and the Court to evaluate the extent to which the
government has allowed false testimony to go uncorrected before
the grand jury.”    And Ms. Burdett asks the Court to “order the
government to turn over the transcript of Timothy’s grand jury
testimony and all evidence inconsistent with Timothy’s grand jury
testimony for the Court’s consideration in connection with this
motion to dismiss.”    At this time, there is nothing before the
Court to place this squarely at issue for resolution.
32 As for the supplemental papers and new (and developing) evidence

submitted by Ms. Burdett -- including that on the day of the
hearing on the motion to dismiss the indictment for vindictive
prosecution the government through SA Moore visited the homes of
Ms. Burdett’s brother, her daughter, her estranged father, and a
couple days later attempted to serve a grand jury subpoena seeking
the appearance of Ms. Burdett’s ill mother -- these incidents might
be worthy of some limited development or clarification during the
evidentiary hearing.
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                                   C.

     Finally,   the   defendants   advance   a   more   generalized   due

process challenge to their prosecution:          the shoddiness of the

government’s case; the fact that the charges are predicated on

false and shifting self-serving testimony by its star witness,

Henry Timothy, who is a liar; and the injustice attendant to the

defendants’ inability to bring this case to trial quickly due to

being indicted during a pandemic when jury trials are suspended.

The defendants submit that the government has engaged in conduct

that is so fundamentally unfair that it violates due process and

dismissal is warranted.       They suggest this theory of dismissal

will be further developed during an evidentiary hearing.              The

government counters that the defendants cannot obtain dismissal of

an indictment simply because Henry Timothy may have credibility

issues.   The Court agrees.

     To be sure, the defendants have identified problems the

government will face in proving its case beyond a reasonable doubt.

But the broad due process principles invoked by the defendants are

predicated on the outrageous government conduct defense, which is

narrowly confined:     “[g]overnment misconduct does not mandate

dismissal of an indictment unless it is ‘so outrageous’ that it

violates the principle of ‘fundamental fairness’ under the due

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process clause of the Fifth Amendment.”                 United States v. Mauskar,

557 F.3d 219, 231-32 (5th Cir. 2009)(citations omitted)(“We are

deeply concerned by the government’s failure to disclose [the

witness’s] forgery of Mauskar’s signature on documents relating to

charges against him.”).               Such violations are found only “in the

rarest       of    circumstances.         Id.     (citations        omitted)(“Had      the

government         suborned     perjury      regarding        the     authenticity      of

signatures on the forged documents relating to the charges against

Mauskar, the outcome of this appeal may have been different.”);

United States v. Sullivan, 578 F.2d 121, 124 (5th Cir. 1978)(“But

we    refuse       to   adopt   the    proposition     that,        absent   perjury    or

government misconduct, an indictment is flawed simply because it

is based on testimony that later may prove to be questionable.”).

       The        defendants    have     not      identified        those    rarest     of

circumstances warranting dismissal of the indictment.                            At any

trial, the defendants will be permitted to cross-examine Timothy

and    otherwise         challenge     the      government’s        evidence    on     the

substantive         criminal    charges.          At   this    juncture,       there    is

insufficient evidence to support dismissal based on the outrageous

government conduct doctrine.




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                                     ***

       Accordingly, IT IS ORDERED: that the defendants’ motion to

dismiss the indictment for selective and vindictive prosecution

and due process violations is DENIED without prejudice, and their

request for an evidentiary hearing is GRANTED.              IT IS FURTHER

ORDERED: that an evidentiary hearing limited in scope consistent

with this Order and Reasons shall take place starting at 1:30 p.m.

on    Thursday,    October   22,   2020,    unless   otherwise    ordered. 33

Finally, no later than three days before the hearing, counsel shall

provide the Court with an order of presentation.

                        New Orleans, Louisiana, October 8, 2020




                                    ______________________________
                                           MARTIN L. C. FELDMAN
                                     UNITED STATES DISTRICT JUDGE




33 Counsel shall attempt to resolve any disputes concerning the
date and scope of the hearing before seeking Court intervention.
                                50
